

People v Lendeborg (2023 NY Slip Op 01850)





People v Lendeborg


2023 NY Slip Op 01850


Decided on April 06, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 06, 2023

Before: Kapnick, J.P., Friedman, Moulton, Kennedy, JJ. 


Ind. No. 2884/05 Appeal No. 17660 Case No. 2016-02075 

[*1]The People of the State of New York, Respondent,
vNelson Lendeborg, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Elizabeth B. Emmons of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Amanda Katherine Regan of counsel), for respondent.



Order, Supreme Court, New York County (Charles H. Solomon, J. at hearing and adjudication; Neil E. Ross, J. at order), entered on or about June 23, 2016, which adjudicated defendant a level three sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court properly exercised its discretion when it declined to grant a downward departure (see People v Gillotti, 23 NY3d 841 [2014]). We do not find any overassessment of points regarding defendant's felony drug conviction, which occurred less than three years before the instant sex offenses. The mitigating factors cited by defendant were generally taken into account by the guidelines. Defendant's response to sex offender treatment was unexceptional, and he has not shown that his age or his low score on the STATIC-99 test demonstrates a reduced individual danger to public safety (see e.g. People v Rodriguez, 145 AD3d 489, 490 [1st Dept 2016], lv denied 28 NY3d 916 [2017]). In any event, the alleged mitigating factors are outweighed by the seriousness of defendant's multiple acts of sexual abuse against young children. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 6, 2023








